                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                     )         MATTICE/CARTER
                                              )
        v.                                    )         CASE NO. 4:12-CR-9
                                              )
 JOSEPH R. ABERNATHY                          )


                                            ORDER

        On May 22, 2012, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to violate the Horse Protection Act, in

 violation of 18 U.S.C. § 371, 15 U.S.C. §§1824(I) and 1824(2)(B), in exchange for the

 undertakings made by the government in the written plea agreement; (b) the Court adjudicate

 Defendant guilty of the charges set forth in the lesser included offense in Count One of the

 Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

 sentencing; and (d) Defendant shall remain on bond pending sentencing in this matter (Doc. 58).

        Neither party filed an objection within the given fourteen days. After reviewing the

 record, the Court agrees with the magistrate judge=s report and recommendation. Accordingly,

 the Court ACCEPTS and ADOPTS the magistrate judge=s report and recommendation pursuant

 to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to the lesser included offense in Count One of the Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;



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       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

       (4) Defendant SHALL REMAIN ON BOND pending sentencing on Monday,

 September 10, 2012, at 9:00 am.

       SO ORDERED.

       ENTER:



                                                       /s/ Harry S. Mattice, Jr._____
                                                     HARRY S. MATTICE, JR.
                                                 UNITED STATES DISTRICT JUDGE




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